
Turley, J.
delivered the opinion of the court.
In this case we are satisfied, that the complainant is entitled to dower, in one half of the premises in the pleadings mentioned, that is, one sixth of the whole and affirm the decree of the chancellor thus far.
But inasmuch as the defendant is an honest purchaser of the premises, and in good faith, believed that he had acquired the same free from any claim for dower, on the part of the complainant, and has since, put valuable improvements, by additions to the Iron Works erected upon the land previous to his purchase, both in machinery and other things,, to the amount of several thousand dollars, whereby the annual value thereof, *541has been greatly increased, and that, since the complainant’s right to dower has accrued; and it appearing to us, that it is inequitable to allow her, to be benefitted.out of the defendant’s expenditures, without paying her portion thereof, and that to do this, may be impossible for her: and it being impossible so to allot her dower, with fairness to herself without letting her into an enjoyment of a part of the works, which cannot be done by mailing her a tenant in common.to the extent of her interest, with the defendant, without making her his co-partner to that extent, which justice to him will not permit on the account of his individual outlay for the improvement of the property.
We therefore direct, that the clerk and master take an account, showing what was the annual value ofthe property at the time the complainant’s right of dower accrued; and what it was when the defendant took possession under. his purchase from Mrs. Brunson, and from that time, we decree against the defendant, the one sixth part thereof annually with interest up to the time of this decree, for which judgment will be given against him in favor of the complainant. And from this time forward, we decree that she be allowed annually, the one sixth part of the same valuation during her life, as her dower, and that the same be charged upon the estate. And if at any time hereafter, said works should cease to secure to her the amount from any cause whatever, that that she may then have her interest of one sixth part of the whole tenement laid off to her by metes and bounds, and be let into possession of the same.
